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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION


   UNITED STATES OF AMERICA
                                                    Criminal Action No.
           v.

   CHALMER E. DETLING, II                           1:18-CR-309-LMM

                      United States’ Sentencing Memorandum

   The United States of America, by its counsel, Kurt R. Erskine, United States
Attorney for the Northern District of Georgia, and Alex R. Sistla, Assistant

United States Attorney, files this sentencing memorandum. For the reasons
below, as well as any additional ones offered during the sentencing hearing, the
Court should: (i) conclude that the two-level victim enhancement applies under
U.S.S.G. § 2B1.1(b)(2)(A)(i); and (ii) overrule defendant Chalmer E. Detling II’s
objections to the Presentence Investigation Report (“PSR”). The government
respectfully submits that Detling’s advisory Guidelines range is 70-81 months.

The Court should sentence Detling to at least the top of the advisory range. 1




   1 The government respectfully requests that the Court remand Detling at sentencing.
Detling made his initial appearance on August 10, 2018 and is facing a mandatory
minimum of 24 months in custody and minimum advisory sentence of nearly six years.
Detling has had ample time to settle his affairs, and the government is concerned about
him fleeing post-sentencing. The undersigned recently had another defendant who was
convicted of a child exploitation offense, and compliant on pretrial release, but failed to
report to prison as directed. His present whereabouts are unknown. More recently, in
November 2021, a white-collar defendant attempted to flee the country after being
convicted at trial in the Northern District of Georgia.


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                                 INTRODUCTION
   Even disbarred, Detling remains a threat to the public. That he isn’t a violent
criminal doesn’t minimize the threat he poses. He’s a serial fraudster. He has
brazenly lied to his clients, his colleagues, his friends, the Georgia Bar, all
without hesitation for years. He has even repeatedly lied under oath, like in July
2016—after the fraud had been uncovered—when he claimed that client money had
gone to a money market account rather to Mighty.
   Whenever he’s been given an opportunity to tell the truth, to demonstrate

even the slightest recognition of the harm he has caused or an appreciation for
his criminality, Detling has failed. He has instead deflected responsibility,
downplayed the harm he’s caused, played semantic games, and reacted with

scorn at any suggestion of misconduct. He was given a pass early in his career by
the Georgia Supreme Court for dishonest behavior. But he did not learn. He’s a
selfish, manipulative, irredeemable person without remorse. He deserves no
mercy. And the Court should show him none. A sentence of at least 81 months is
necessary to provide just punishment and serves the goals of sentencing.

                                    ARGUMENT

   A. Probation correctly determined Detling’s advisory range is 70-81
      months’ imprisonment. 2

   Although the Guidelines are advisory, “the district court still must [first]
calculate the advisory . . . range correctly.” United States v. Angulo, 638 F. App’x

   2On January 4, 2022, the government filed its response in opposition to Detling’s
motion for new trial. (R. 177.). The government’s response contained a lengthy
background section detailing the evidence and witnesses presented during the eight-

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856, 860 (11th Cir. 2016) (citing United States v. Pugh, 515 F.3d 1179, 1189 (11th
Cir. 2008)); see generally Gall v. United States, 552 U.S. 38, 49 (2007).
   The initial PSR determined that Detling’s advisory Guidelines range for his
wire fraud convictions was 37-46 months based on a Total Offense Level of 21
and Criminal History Category of I, plus a minimum two-year consecutive
sentence based on his convictions for aggravated identity theft. Accordingly, the
initial PSR calculated Detling’s advisory range as 61-70 months’ imprisonment.
The parties each filed objections to the Guidelines calculations.

   The government objected to Probation’s failure to include the two-level victim
enhancement under U.S.S.G. § 2B1.1(b)(2)(A)(i). (PSR ¶ 98.) Detling raised two
objections: (i) he argued the loss amount was incorrect, claiming he was entitled

to a “credit against loss” (PSR ¶¶ 21, 97); and (ii) that the abuse of trust
enhancement under U.S.S.G. § 3B1.3 did not apply because he did not have an
attorney—client relationship with the finance companies. (PSR ¶ 100; Jan. 13,
2022 Letter from C. Wade to A. Parker at 2.) In the final PSR, Probation agreed
with the government that the two-level victim enhancement applied and rejected
Detling’s objections. (PSR ¶¶ 97, 98 & 100.) With the inclusion of the victim
enhancement, Detling’s advisory Guidelines range for his wire fraud convictions
is 46-57 months and his adjusted Guidelines range (with the minimum two-year
consecutive sentence for his aggravated identity theft convictions) is 70-81


day trial. (Id. at 1-13.) Given this recent filing, the significant pretrial motions practice,
the detailed presentence investigation report, and the fact that the Court presided over
the trial, the government presumes the Court’s familiarity with Detling’s fraud, the
victims, and other relevant players.


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months. (PSR at 34 (Part D – Sentencing Options).) Probation’s calculation of
Detling’s advisory Guidelines range is correct.

      1. The two-level victim enhancement applies.

   Probation correctly determined that the two-level victim enhancement applies
under U.S.S.G. § 2B1.1(b)(2)(A)(i). The commentary to § 2B1.1 defines a “victim”

as “any person who sustained any part of the actual loss” or “any individual whose
means of identification was used unlawfully or without authority.” U.S.S.G. § 2B1.1,
cmt. n.1, 4(E) (emphasis added). In Simmons v. United States, 2021 U.S. App.
LEXIS 26951, at **25-26 (11th Cir. Sept. 7, 2021), the Eleventh Circuit reaffirmed
that the victim enhancement may apply where a defendant uses stolen identities:
       In United States v. Sammour, 816 F.3d 1328, 1340 (11th Cir. 2016), this
       Court concluded that several individuals qualified as “victims” for
       purposes of § 2B1.1(b)(2) where the defendant provided the
       identifications of those individuals to his cohorts, who in turn used
       the identifications to fraudulently obtain tax refunds.
   Simmons held that the defendant’s counsel was not ineffective for not
objecting to the victim enhancement because the defendant “admitted that he
and his co-conspirators used the stolen PII of hundreds of people to file
fraudulent claims for tax refunds and SNAP benefits.” Simmons, 2021 U.S. App.
LEXIS 26951, at **26-27; see also United States v. Mitchell, 728 F. App’x 953, 955, 956
(11th Cir. 2018) (affirming application of two-level victim enhancement because

the defendant used unlawfully or without authorization the “means of
identification”—namely the “names and PINs of AT&T customers”—to
“fraudulently obtain wireless devices from AT&T wireless”).




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   The victim-enhancement likewise applies here. The evidence at trial
conclusively established that Detling used the identities of ten or more of his

victim-clients to execute his scheme to defraud the financing entities. 3

        2. Detling has the burden of demonstrating that he is entitled to any
           “credit” against the loss, but even if he could, it would not affect the
           loss range.

   Detling argues that the loss amount should be reduced because “money was

returned by the defendant to the victims before the offense was detected.” (Jan.
13, 2022 Letter from C. Wade to A. Parker; PSR ¶ 21.) “At a sentencing hearing,
the defendant has the burden of showing by a preponderance of the evidence

that she is entitled to a reduction in the loss calculation.” United States v. Boyce,
759 F. App’x 259, 266 & n.34 (5th Cir. 2019) (citing United States v. Mahmood, 820
F.3d 177, 194 (5th Cir. 2016)). 4




   3See, e.g., R. 154, Verdict Form at 2 (jury’s guilty verdicts on aggravated identity
charges, Counts 11-15); GX-445 (government’s summary exhibit); testimony from the
twelve victim-clients at trial (B.C., W.G., K.J., M.S.K., S.L. (on behalf of himself and
W.L.), D.M. (on behalf of T.M.), V.M., H.M., B.P., K.P., A.U., L.W.)
   4   See also United States v. Kraus, 656 F. App’x 736, 741 (6th Cir. 2016) (“the defendant
has the burden of providing specific [fair market] value by which the loss amount
should be reduced”) (quoting United States v. Reid, 764 F.3d 528, 534 (6th Cir. 2014))
(alteration in original); United States v. Hammer, 3 F.3d 266, 272 (8th Cir. 1993) (“The
burden of proof [at sentencing] is on the government with respect to the base offense
level and any enhancing factors. The burden of proof is on the defendant with respect to
mitigating factors.”); United States v. Howard, 894 F.2d 1085, 1090 (9th Cir. 1990) (“[T]he
government should bear the burden of proof when it seeks to raise the offense level and
. . . the defendant should bear the burden of proof when the defendant seeks to lower
the offense level.”).


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   Under the Guidelines, a defendant is entitled to a “credit” against the loss if,
among other reasons, “[t]he money was returned . . . by the defendant or other
persons acting jointly with the defendant[] to the victim before the offense was
detected.” U.S.S.G. § 2B1.1 cmt. n.3(E)(i) (emphasis added). “The time of detection
of the offense is the earlier of (I) the time the offense was discovered by a victim
or government; or (II) the time the defendant knew or reasonably should have
known that the offense was detected or about to be detected by a victim or
government agency.” Id. Detling isn’t entitled to a credit simply because a victim

received some of its money back. Rather, he had to be responsible for returning
the money, and he had to do so before the detection of the fraud. See, e.g., United
States v. Nixon, 465 F. App’x 912, 921 (11th Cir. 2012).

   Detling has thus far identified a single transaction for which he claims he
should receive credit—a $27,500 wire he sent on or about January 21, 2015 to
Mighty as repayment for a fraudulently obtained litigation advance in R.J.’s and
H.J.’s names. (Jan. 13, 2022 Letter from C. Wade to A. Parker; PSR ¶ 21.) 5
Although crediting this amount would have no impact on Detling’s advisory
Guidelines range, 6 the Court should nevertheless decline to credit this

transaction because “courts have held that a fraudster may not receive credit for
value that is provided to his victims for the sole purpose of enabling him to

   5 Detling states that he “intend[s] to provide additional records prior to sentencing
to reflect the total credits to which [he’s] entitled.” (Jan. 13, 2022 Letter from C. Wade to
A. Parker.) The government will address at sentencing any specific credits that Detling
seeks.
   6The applicable loss range of $250,000 to $550,000 would remain unchanged
regardless of whether Detling receives credit for this wire.


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conceal or perpetuate his scheme[.]” United States v. Campbell, 765 F.3d 1291, 1302
(11th Cir. 2014) (citing United States v. Orton, 73 F.3d 331, 334 (11th Cir. 1996);
United States v. Blitz, 151 F.3d 1002, 1012 (9th Cir. 1998)). Detling sent this wire, at
least in part, to help conceal his scheme. By making this sizeable payment, it
made it less likely that Mighty would carefully probe or scrutinize other
advances that it made to Detling. Indeed, after making this payment, Detling
applied for and obtained more than two dozen additional fraudulent advances
before his scheme unraveled. Detling should thus not receive credit for the

occasional payments he made during the scheme because they were designed to
lull Mighty (and his other victims) into a sense of complacency.
   If the Court concludes otherwise, however, the government respectfully

submits that Detling—at the latest—“knew or reasonably knew that [his] offense
was . . . about to be detected by a victim” by the beginning of March 2016.
U.S.S.G. § 2B1.1 cmt. n.3(E)(i)(II). On March 16, 2016, after several weeks of email
exchanges with Josh Schwadron on the status of Mighty’s outstanding liens (in
which Detling was clearly stalling for time), 7 he falsely claimed:
     As you know we’ve settled some cases with outstanding client
     advances that were never paid. I won’t get into the how and why
     other than to say it’s been handled. . . . I’ve segregated the funds for


   7 See GX-271 (Mar. 2, 20216 email from J. Schwadron to C. Detling checking on status
of M. Jones case); GX-272 (Mar. 3 2016 email from C. Detling to J. Schwadron in which
Detling falsely accuses M. Cole of financial mismanagement), GX-273 (Mar. 9, 2016
email exchange between C. Detling and J. Schwadron re: lien status); GX-274 (Mar. 14,
2016 email from C. Detling to J. Schwadron acknowledging he owes information); GX-
275 (Mar. 16, 2016 email from C. Detling to J. Schwadron acknowledging he owes
Schwadron an email, but falsely stating there are “[n]o issues”).


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         each of these clients and will be making payments as I get consent
         from the clients.” 8
   None of this made sense (let alone was true) as Schwadron recognized in his
response barely twenty minutes later:
      The client’s [sic] have already given consent, maybe twice. . . . Why
      do you need another permission on top of it? . . . Please let me know
      ASAP so I can let our investors know what’s going on.” 9
   Indeed, on March 21, 2016, Schwadron emailed Detling:

         It’s been 5 days and I still haven’t heard back from you. It’s been
         about 3 weeks since we spoke on the phone last, despite numerous
         unreturned calls to your office and cell. I really need clarity on
         what’s going on. I am waiting on a few payments and need updates
         generally on everything. 10
   And over the next six weeks, Schwadron and Detling would continue to have
similar exchanges, until finally on May 3, 2016, Schwadron emailed Detling:

         I got a call from the GA Bar telling me they got an anonymous tip
         that some cases funded with your clients have settled and we’ve
         been paid. I’ve tried calling your office but I have not heard back
         from you.

         The bar gave me a lawyer who they say is representing you. I need
         to talk to someone ASAP to get an understanding of what’s going
         on. Are you planning on calling me back or would you prefer if I
         speak to the lawyer the bar game me? 11




   8   GX-276 (Mar. 16, 2016 email from C. Detling to J. Schwadron).
   9   Id. (Mar. 16, 2016 email from J. Schwadron to C. Detling).
   10   Id. (Mar. 21, 2016 email from J. Schwadron to C. Detling).
   11   GX-283 (May 3, 2016 email from J. Schwadron to C. Detling).


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Detling acknowledged the next morning that he had counsel 12 and over the next
year made occasional payments to Mighty. 13

   Even though the Georgia Bar did not alert Mighty of Detling’s fraud until
May 3, 2016, the relevant question under the application note is when Detling
knew or should’ve reasonably known the fraud was about to be detected.
U.S.S.G. § 2B1.1 cmt. n.3(E)(i)(II). It is evident from these emails—and
Schwadron’s trial testimony—that Detling recognized Mighty was becoming
more aggressive about seeking repayment and he was merely stalling to keep
them from discovering the fraud. This is especially true once Mighty contacted
Aimee Ingram about the status of the litigation advances. It was reasonably
foreseeable that his fraud would be uncovered because she knew nothing about

any of these advances. 14 Ingram testified at trial that she requested copies of the
financing agreements from Mighty—a fact confirmed by the email
correspondence 15—and after determining none of the clients had authorized the

advances confronted Detling in approximately mid- to late April 2016 (before
notifying the Georgia Bar about the fraud on or about May 2, 2016). 16 Cf. United
States v. Rhodes, 410 F. App’x 856, 862 (6th Cir. 2015) (observing that when a


   12   Id. (May 4, 2016 email from C. Detling to J. Schwadron).
   13   See, e.g., GX-288.
   14   See GX-277 (Mar. 21, 2016 email from W. Gibbons to A. Ingram).
    See, e.g., GX-277 (Mar. 21, 2016 email exchanges between A. Ingram and W.
   15

Gibbons).
   16Ex. A, GX-365 (redacted for victims’ names). At trial, a redacted version of GX-365
was introduced into evidence.


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defendant knew or should have reasonably known his fraud was about to be
detected when advised his books were going to be audited).
   Detling also should have reasonably known that his fraud was about to be
detected in early March 2016 because this was not the first time he faced direct
questions from a financing company about the status of repayment. In January
2015, Detling fraudulently obtained four litigation advances from Peak Funding
Group (“Peak”) totaling approximately $22,500, including in the name of victim-
client T.M. 17 As in the case of the fraudulent Mighty and Capital Financing

advances, Detling obtained these advances without the clients’ knowledge or
permission. In late January 2015, after the advances had gone out, Peak
attempted to contact the clients who had allegedly sought the advances. These
efforts were mostly unsuccessful. 18 By February 9, 2015, however, Peak advised
Detling and his counsel:
      I left you a message earlier regarding Mr. Detling’s fraudulent
      actions.


   17  This conduct was not charged in the Indictment, but D.M. testified regarding
fraudulent advances obtained in T.M.’s name at trial from Mighty. T.M. testified that
they never sought any litigation advances but expressly told Detling they did not want
any. The government is providing counsel and the Court correspondence it received
from Peak Funding on February 2, 2022 regarding these fraudulent advances. See Ex. B,
C, D. These advances were, however, reflected in bank statements previously provided
to Detling. See Ex. E (wire slip for Jan. 9, 2015 transfer from Peak); Ex. F (wire slip for
Jan. 15, 2015 transfer from Peak); Ex. G (wire slip for Jan. 22, 2015 transfer from Peak);
Ex. H (wire slip for Jan. 23, 2015 transfer from Peak). Peak’s total funding was $24,750
but only $22,500 was sent to Detling because Peak deducted application and processing
fees from the advances. See Ex. J (Jan. 9, 2015 Peak Funding Purchase Agreement for J.P.
at 1).
   18   Ex. B (summary chart prepared by M. Omni on attempted contacts)


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        We funded 4 of Mr. Detling’s clients in January for a total of
        $24,750.00.

        The payoff on these funding’s [sic] total $29,700 which is due
        immediately.

        A curtsey [sic] call to clients revealed the following:

        We have confirmed that 1 of these clients never asked for a pre
        settlement funding, hasn’t received the $7,500 we funded into Mr.
        Detling[‘s] account for this client, and never signed anything from
        our office[.] [S]he furthermore knew nothing about an email address
        we sent the funding agreement too [sic]. . . .

        We have asked Mr. Detling to provide us valid contact phone
        numbers for the other 3 clients we supposedly funded but have only
        received false numbers.

           --Detling or someone in his office falsely signed funding
           agreements in the names of his clients and have also set up fake
           email addresses to capture the agreements and sign them.

           --Not only will Mr. Detling lose his Bar card once these facts are
           revealed but we will be pursuing criminal charges against Mr.
           Detling shortly.

        I urge you to talk to your client and payoff the funding total
        immediately. 19

   19 See Ex. C (Feb. 9, 2015 email from R. Rescigno to D. Ivey & C. Detling) (bolding in
original). A review of the bank records and Detling’s correspondence with Mighty
suggests that he used the advances he fraudulently received from Peak to make a
payment to Mighty. That Detling would steal money to help conceal a fraud is hardly
surprising. At trial, the government showed that Detling stole $17,500 of client money
to make a payment to Mighty in March 2016. (GX-317 ($25,000 check from GEICO
payable to J.O.)); GX-318 (wire slip from SunTrust Account x0526 $17,500 transaction);
GX-279 (email from Apr. 1, 2016 email from J. Schwadron to C. Detling re payment).)
He then lied under oath in a Georgia Bar disciplinary proceeding about having done so,

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That same day, February 9th, Detling’s attorney replied that Detling would wire
the funds the next day, February 10, 2015. Detling failed to do so, but wired the
finds on February 12th when he also sent the following email to Peak::


        David forwarded your email to me. The wire went through this
        afternoon. For future reference, your routing number is 121000248
        not 061000227, which is you ACH number. Hence the delay.

        Please let the sheriff know that I will be in Disney World next
        week but that I am available for arrest the week of the 23rd. 20
Although there’s no indication that Detling attempted to defraud Peak again, he
knew (or should have known) that if Mighty were to begin probing more
aggressively into the status of the advances—as they began to do so in March

2016—they would discover his fraud. Accordingly, the Court should—at a
minimum—not credit Detling with any funds he sent to Mighty after Schwadron
began to probe him more aggressively on the status of the advances.

   In the event the Court disagrees with the foregoing, the government submits
that Detling should not receive any credit against loss after May 3, 2016 when the
Georgia Bar notified Schwadron about the potential fraud. See, e.g., United States
v. Jones, 199 F. App’x 812, 817 (11th Cir. 2006) (affirming district court’s
conclusion that the defendant should not receive credit for returning a
fraudulently obtained vehicle until after the offense was detected); United States


falsely testifying that he wired J.O.’s funds to money market account. (GX-389 (excerpt
of C. Detling’s testimony)).
   20Ex. D (Feb. 12, 2015 email from C. Detling to D. Ivey & R. Rescigno) (bold added);
Ex. H (wire slip for Feb. 12, 2015 wire from C. Detling to Peak).


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v. Philpot, 733 F.3d 734, 749 (7th Cir. 2013) (no credit after the “media had already
reported” on wrongdoing because the defendant “should have known that
government investigators might soon become aware of his conduct”). If the
Court credits Detling with any “repayments” before May 3, 2016, the
government does not believe it would impact the advisory range, i.e., the loss
range would remain $250,000 to $550,000.

        3. The abuse of trust enhancement applies.

   The PSR correctly found that the two-level abuse of trust enhancement
applies under U.S.S.G. § 3B1.3. The two-level enhancement may apply if a
defendant “abused a position of public or private trust, or used a special skill, in
a manner that significantly facilitated the commission or concealment of the

offense.” Id. Courts typically apply the enhancement in circumstances where the
defendant occupies a position of professional or managerial discretion and relies
upon that discretion in order to “facilitate the commission or concealment of the

offense.” Id., cmt. n.1.
   For the adjustment to apply under § 3B1.3’s “abuse of trust” prong, the
government must show that the “defendant has abused discretionary authority
entrusted to the defendant by the victim.” United States v. Williams, 527 F.3d 1235,
1250 (11th Cir. 2008) (quotations omitted). 21 But because “there is a component of
misplaced trust inherent in the concept of fraud . . . a sentencing court must be

   21  As discussed below, a two-level enhancement under § 3B1.3 may also apply if:
(i) a defendant unlawfully (or without authority) uses any means of identification to
commit the offense; or (ii) his special skills to significantly facilitate or conceal the
offense.


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careful not to be ‘overly broad’ in imposing the abuse-of-trust enhancement or
‘the sentence of virtually every defendant who occupied any position of trust
with anyone, victim or otherwise, would receive a § 3B1.3 enhancement.’” United
States v. Etienne, 772 F. App’x 795, 798 (11th Cir. 2019) (quoting United States v.
Ghertler, 605 F.3d 1256, 1264 (11th Cir. 2010)). Accordingly, “in the fraud context,
§ 3B1.3 has been recognized to apply . . . where the defendant is in a fiduciary, or
other personal trust relationship to the victim of the fraud, and the defendant
takes advantage of the relationship to perpetrate or conceal the offense.” Etienne,

772 F. App’x at 798 (citation omitted). In other words, “there must be a showing
that the victim placed a special trust in the defendant beyond ordinary reliance
on the defendant's integrity and honesty that underlies every fraud scenario.”

Ghertler, 605 F.3d at 1264 (citation omitted).
   Here, “a special trust” existed between Detling and victim financing
companies. With respect to both Mighty and Capital Financing, Detling
developed more than an “arm’s-length relationship.” Dr. Golden of Capital
Financing testified that he was friends with Detling and that explained, at least in
part, why Capital Financing did not directly contact Detling’s clients to confirm
whether they had received the litigation advances. Their friendship also explains
why Detling was able to conceal the fraud from Capital Financing until May
2016. Likewise, Schwadron and Hugh Brammer testified that Detling developed

a friendly rapport with them. Detling met them in New York for dinner; Detling
sent Brammer wine; and Detling and his wife met Schwadron for dinner in
Atlanta. Their email exchanges reflected a friendly banter, rather than strictly a


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business relationship. Detling took special advantage of the fact that Mighty did
not directly contact plaintiffs who sought litigation financing but relied upon the
representations of their lawyers. Detling also showed a special interest in Mighty
by “investing” in cases with them.
   The victim financing companies trusted Detling to provide accurate
information about his clients’ financial status, their cases, and desire to obtain
high-interest litigation financing. In essence, they relied on Detling’s professional
judgment, discretion, and deference in recommending (and assisting) his clients

to seek financing that was to be obtained only as a last resort. See, e.g., United
States v. Smith, 853 F. App’x 589, 594-95 (11th Cir. 2021) (affirming § 3B1.3
enhancement where the defendant’s business had a purported ownership

interest in victim-lender and where the victim lender “trusted their financial
partner to provide accurate information” about the defendant’s business).
   In the alternative, the abuse of trust of enhancement also applies when “[a]
defendant exceeds or abuses the authority of . . . her position in order to obtain,
transfer, or issue unlawfully, or use without authority, any means of
identification.” Id., cmt. n.2(B). A “means of identification” includes “any name
or number that may be used, alone or in conjunction with any other information,
to identify a specific individual.” 18 U.S.C. § 1028(d)(7); see also U.S.S.G. § 3B1.3,
cmt. n.2(B) (means of identification has same meaning as used in § 1028(d)(7)).

   It is undisputed that Detling used the identities of others, namely that of
dozens of his clients to facilitate the scheme. In United States v. Cruz, 713 F.3d 600,
608-09 (11th Cir. 2013), the court of appeals, relying on Application Note 2(B),


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affirmed imposition of the abuse of trust enhancement for a Target cashier who
processed stolen credit cards to acquire merchandise on behalf of her co-
conspirators despite the fact she held no supervisory or managerial position.
Cruz followed United States v. Abdelshafi, 592 F.3d 602, 611 (4th Cir. 2010), which
affirmed the abuse-of-trust enhancement based on Application Note 2(B) for a
defendant who abused his position by using, without authority, Medicaid
patients’ identifying information to file fraudulent claims for payment. Detling’s
actions are analogous. The two-level abuse of trust enhancement applies because

Detling used, without authorization, his clients’ identities to fraudulently obtain
litigation advances from the financing companies. See also Smith, 853 F. App’x at
595 (holding in the alternative that “the district court properly applied the two-

level abuse-of-trust enhancement under our precedent establishing the means-of-
identification rationale for such enhancement” [because] the defendant “used
names and signatures that he obtained through his role at Smith Advertising to
commit and conceal his fraud.“) (citing Cruz); Siler v. United States, No. 17-cv-
24294, 2019 U.S. Dist. LEXIS 78683, at **35-36 (S.D. Fla. May 8, 2019) (“existence
of a fiduciary relationship between [defendant] and [victim] . . . was not required
for application of the abuse-of-trust enhancement” based on Application Note
2(B)) (citing Cruz and Abdelshafi).
   The abuse of trust enhancement also applies because Detling used a “special

skill, in a manner that significantly facilitated the commission or concealment of
the offense.” U.S.S.G. § 3B1.3. Application Note 4 identifies lawyers as among
those individuals who possess “special skills”—namely skills “not possessed by


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members of the general public and usually requiring substantial education,
training or licensing.” Id. cmt. n.4. The Eleventh Circuit has explained, however,
that a defendant’s “status as an attorney . . . does not necessarily mean he abused
a position of trust.” United States v. Morris, 286 F.3d 1291, 1297 (11th Cir. 2002).
As such, “it is simply not the case that an attorney holds a position of trust with
respect to all people with whom he comes into contact solely by virtue of his
status as an attorney.” Id.
   The evidence at trial demonstrated that Detling used his training and

experience as a personal injury attorney to significantly facilitate the fraud. His
experience was in fact essential to executing the fraud. In the first place, the
litigation financing companies would never have dealt with Detling if he wasn’t

a personal injury attorney. See, e.g., United States v. Tai, 750 F.3d 309, 318 (3d Cir.
2014) (§ 3B1.3 enhancement applies where “highly trained doctor” used his “skill
and credentials [as] the means by which he could participate in the claims
process” through which he executed the fraud). That aside, Detling was able to
successfully execute his scheme because he was an experienced personal injury
lawyer, well-versed in the relevant law. 22 See, e.g., United States v. Grant, 479 F.

App’x 904, 906 (11th Cir. 2012) (“A special skill does not require formal
education, and ‘may be obtained through life experience and self-study[.]’”)
(citations omitted). Because of his specialized training and experience, Detling
knew of and had access to the type of information—police and medical reports,


   22For example, Detling stated that one of specialties was dental malpractice. See GX-
212 (August 31, 2015 email from C. Detling to H. Brammer).


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insurance coverage, typical recoveries in Georgia—that the financing companies
required to properly evaluate an injured party’s potential recovery. 23 Having
access or obtaining this information could only be accomplished by someone
with specialized skills, including knowledge of how to file complaints, interface
with insurance companies, send demand letters, take depositions, subpoena
documents, find experts, go to trial, etc. Indeed, it was sometimes necessary that
Detling took one or more of these steps to obtain or develop the information
necessary to send to the financing companies
   The voluminous email exchanges presented at trial, as well as Schwadron’s
and Hugh Brammer’s testimony, conclusively established that they relied—in
large part—on Detling’s representations and overall assessment of his cases.

They were able to do so because Detling knew and understood what was
relevant to the financing companies by virtue of his specialized training and
experience as personal injury attorney. See, e.g., United States v. Kyereme, 371 F.
App’x 292, 294 (3d Cir. 2010). And therefore the enhancement applies. See Grant,
479 F. App’x at 906 (applying § 3B1.3 enhancement based on the defendant’s
special skills where “the evidence . . . [showed] that [the defendant] gained
detailed knowledge of loan-application and loan-processing procedures during
the three years he worked as a loan officer or mortgage broker before committing


   23 See, e.g., GX-191 (November 10, 2014 email exchanges between C. Detling and J.
Schwadron and C. Detling and J. Schwadron regarding potential dental malpractice
case); GX-208 (April 13-14, 2015 exchanges between C. Detling and H. Brammer about
K.P.’s case, including substantive discussion regarding contributory negligence and
right-of-way drivers).


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mortgage fraud”); United States v. Azmat, 805 F.3d 1018, n.9 (11th Cir. 2015)
(noting that a defendant who was a physician received two-level increase for
either abusing a position of trust or using special skills because he “was a
licensed medical doctor authorized to issue prescriptions for controlled
substances”); see also, e.g., United States v. Calabrese, 660 F. App’x 97, 99-101 (2d
Cir. 2016) (affirming § 3B1.3 enhancement for experienced mortgage broker
whose experience helped to both facilitate and conceal a mortgage fraud
conspiracy); United States v. Ojemen, 465 F. App’x 69, 71 (2d Cir. 2012) (special

skills enhancement applied where the defendant was the company’s controller
and “possessed a financial sophistication beyond that of the general public,
which he used to facilitate his production of the myriad forged and fraudulent

financial and tax documents necessary to his criminal scheme”); United States v.
Stalnaker, 571 F.3d 428, 441 (5th Cir. 2009) (holding defendant attorney
performing mortgage closing possessed special skill warranting enhancement for
convictions arising out of mortgage fraud); United States v. Downing, 297 F.3d 52,
65 (2d Cir. 2002) (finding no error in application of special skill enhancement
where defendants used accounting training for purpose of producing fraudulent
audit reports). 24




   24 If the Court concludes that the § 3B1.3 enhancement applies because Detling used
his special skills as an attorney to significantly facilitate his fraud, it is immaterial
whether he occupied a position of trust vis-à-vis the victim-financing companies.


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   B. The Court should sentence Detling to at least 81 months’ imprisonment.

   After properly calculating a defendant’s advisory Guidelines range, the court
must consider the Section 3553(a) factors, 25 and impose “a sentence sufficient but
not greater than necessary” to reflect the seriousness of the offense, promote
respect for the law, provide just punishment, deter criminal conduct, and protect
the public from future criminal conduct. 18 U.S.C. § 3553(a)(2)(A)-(D). “The
weight to be accorded any given § 3553(a) factor is a matter committed to the
sound discretion of the district court.” (citing United States v. Clay, 483 F.3d 739,
743 (11th Cir. 2007)). The Eleventh Circuit, however, does “not require a district
court to state on the record that it has explicitly considered each of the § 3553(a)

factors.” United States v. McKleroy, 783 F. App’x 878, 879 (11th Cir. 2019) (citing
United States v. Dorman, 488 F.3d 936, 938 (11th Cir. 2007)). It is sufficient that a
district court acknowledge having considered the defendant’s arguments and the
§ 3553(a) factors. See, e.g., id. In other words, the district court “should set forth
enough to satisfy the appellate court that [it] has considered the parties’
arguments and has a reasoned basis for exercising [its] own legal decision-

making authority.” Rita v. United States, 551 U.S. 338, 356 (2007). 26

   25   The familiar § 3553(a) factors include: (i) the nature and circumstances of the
offense (§ 3553(a)(1)); (ii) the history and characteristics of the defendant (§ 3553(a)(1));
(iii) the need for the sentence imposed to reflect the seriousness of the offense
(§ 3553(a)(2)(A)); (iv) deterrence of criminal conduct (§ 3553(a)(2)(B)); (v) the need to
protect the public from future crimes (§ 3553(a)(2)(C)); (vi) the kinds of sentences
available (§ 3553(a)(3)); (vii) the advisory guidelines range (§ 3553(a)(4)(A)); (viii) the
need to avoid unwarranted sentencing disparities (§ 3553(a)(6)); and (ix) the need to
provide restitution of any victims of the offense (§ 3553(a)(7)). 18 U.S.C. § 3553(a)(1)-(7).
   26The present memorandum briefly highlights the § 3553(a) factors that the
government believes are most relevant in determining Detling’s sentence. The

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      1. The nature and circumstances of Detling’s offense warrant a sentence
         at the top of the Guidelines (18 U.S.C. § 3553(a)(1))

   The seriousness of Detling’s crimes cannot be overstated. While the Court is
intimately familiar with these facts, they bear repeating. As a then-licensed
attorney, Detling abused the trust of his clients and the financing companies for
nearly eighteen months. His clients came to him because they had been injured---
sometimes horrifically so like in the case of T.M.—and Detling took advantage of
them. He didn’t apply for one or two fraudulent advances. He didn’t defraud the

financing companies of a few thousand dollars. He didn’t use a couple of
identities. No. Detling used the identities of virtually every one of his clients. In
some instances, he used the same client’s name to obtain multiple fraudulent

advances. He applied for and obtained approximately fifty fraudulent advances
during the scheme. And as result, the financing companies lost hundreds of
thousands of dollars.

      2. Detling’s history and characteristics weigh in favor of a sentence at
         least at the top of the Guidelines. (18 U.S.C. § 3553(a)(1))

   Detling’s history and characteristics also favor a sentence at least at the top of
the Guidelines. Any person who has demonstrated the capacity to lie and deflect
in the manner that Detling has deserves significant punishment. Any person who
can take advantage of family, friends, even a kid they once coached deserves
significant punishment. Any person who can take advantage of those who come
in a time of need deserves significant punishment. And any person who would

government will discuss these, and—if necessary—the remaining factors at the
sentencing in more detail in support of its recommended sentence.


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use their own child’s illness to minimize their own wrongdoing deserves
significant punishment. That is who Detling is. He is an unrepentant liar who
cares only for himself. A man who stole client funds to make a payment to
Mighty. A man who exploited his own child’s illness when it suited him---
repeatedly using it as an excuse for his own incredibly dishonest conduct. A man
willing to blame everyone else for his own misdeeds. But it is not only the
government who sees Detling for who he is. In November 2013, before he began
defrauding the financing companies, a lawyer representing one of Detling’s

former clients sent this to Detling: 27




   27 The full letter is attached as Ex. O (November 21, 2013 Letter from C. Berney, Esq.
to C. Detling).


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   Detling has always been the same dishonest man. He’s just now being held
accountable.

        3. A sentence at the high-end of the Guidelines is necessary to promote
           general and specific deterrence. (18 U.S.C. § 3553(a)(2)(B))

   Finally, a sentence of at least 81 months is necessary to promote specific and
general deterrence.

   Specific Deterrence. It is difficult to imagine another defendant without any
criminal history where there is such a pressing need for specific deterrence.
Detling didn’t just defraud the financing companies. He fabricated documents.
He stole his clients’ identities. He’s stole client money. He’s lied to his friends,
employees, clients, and even under oath. His fraud and deception weren’t
isolated. It continued for years, and even when exposed he continued to lie, to
deflect, to blame---to not accept responsibility for his actions. What makes
Detling’s behavior even more contemptuous is that he had already been given a
second chance by the Georgia Supreme Court.
   In 2011, several years before he began defrauding the financing companies,
the Georgia Supreme Court reprimanded Detling for failing to make a material
disclosure in the connection with a commercial transaction. 28 The Georgia


   28 In re: Chalmer E. Detling, II, No. S11Y1007 (May 31, 2011), available at
https://caselaw.findlaw.com/ga-supreme-court/1569212.html (attached as Ex. K).


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Supreme Court approved of a “Review Panel reprimand” because Detling
allegedly had a good reputation, was a mentor, supposedly performed
significant pro bono work, and was active in the community.29 Detling proved
unworthy of the Supreme Court’s trust.
   Within just a few years, he was not only stealing his clients’ identities and
defrauding the financing companies but again under investigation by the
Georgia Bar for various malfeasance—this time for allegedly misusing client
funds and settling cases without their authority. 30 Remarkably, Detling began

stealing his clients’ identities and defrauding the financing companies after those
investigations had already begun. 31 Indeed, Detling obtained dozens of
fraudulent litigation advances in 2015 while subject to three simultaneous

investigations by the Georgia Bar.
   Detling was afforded leniency once by the Supreme Court of Georgia. He was
able to settle with the SEC without admitting wrongdoing. (PSR ¶ 142.) But

   29   See id.
   30 See Ex. L (In the Matter of Chalmer E. Detling, II, Report and Recommendation of
Special Master Docket 6640 – filed Aug. 22, 2016), Ex. M (In the Matter of Chalmer E.
Detling, II, Report and Recommendation of Special Master Docket 6672 – filed Aug. 22,
2016), Ex. N (In the Matter of Chalmer E. Detling, II, Report and Recommendation of
Special Master Docket 6804 – filed Aug. 22, 2016.). The Special Master reports are very
detailed, but in essence he concluded that Detling had in fact committed numerous
ethical violations relating to the management of his clients’ funds. The government
expects to discuss these findings in more detail at sentencing because they reflect not
only on the need for the sentence to provide specific deterrence but provide a keen
insight into Detling’s history and characteristics.
   31 See, e.g., Ex. L (noting that a grievance against Detling was filed October 2, 2013,
the Investigative Panel made a probable cause finding on September 26, 2014, and the
Georgia Bar filed a formal complaint on December 19, 2014).


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Detling showed little appreciation for his good fortune. A substantial custodial
sentence—at least at the high end of the advisory Guidelines range—is necessary
to deter Detling from future criminal conduct.
   General Deterrence. Most white-collar offenses are the product of thoughtful,
careful deliberation. Their typically prolonged nature often presents a defendant
with ample opportunities to cease his or her conduct. That was certainly the case
here – the fraud scheme lasted approximately eighteen months, and there was
nothing preventing Detling from stopping. A meaningful custodial sentence—at

least at the top of the advisory Guidelines range—is therefore necessary to deter
other would-be white-collar offenders, especially professionals like Detling who
occupy positions of significant trust where they are expected—at a minimum—to

hold in confidence the personal identifying information of their clients. This is
even more so here, give the deliberate and calculating nature of his offenses.
   As the Eleventh Circuit has observed, “[b]ecause economic and fraud-based
crimes are more rational, cool, and calculated than sudden crimes of passion or
opportunity, these [offenses] are prime candidates for general deterrence.”
United States v. Martin, 455 F.3d 1227 1241 (11th Cir. 2006). Phrased differently,
“[d]efendants in white collar crimes often calculate the financial gain and risk of
loss, and white collar crime therefore can be affected and reduced with serious
punishment.” Id. Where a court declines to impose a significant sentence upon a

white-collar offender, “the message . . . is [sent] that would-be white-collar
criminals stand to lose little more than a portion of their ill-gotten gains and
practically none of their liberty.” Id. Indeed, even if an individual defendant


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himself poses little danger of re-offending, she should not receive a minimal
sentence; “such a sentence” would be “grossly inappropriate” where, as here, a
[substantial] term of imprisonment will “carry[] substantial deterrent or punitive
impact.” Id. And who would possibly be deterred from stealing the identifies of
dozens of clients and defrauding financing companies of hundreds of thousands
of dollars, if those like Detling—highly trained professionals—did not receive a
substantial prison sentence? Few, if any.

                                   Conclusion

   For the foregoing reasons, the government respectfully requests that the
Court sentence Detling to at least 81 months’ imprisonment. Nothing less would
appropriately serve the goals of sentencing, especially where he engaged in this

rampant criminal conduct while being investigated by the State Bar of Georgia.
Any lesser sentence would neither promote respect for the law nor provide just
punishment.


   Respectfully submitted this 3rd day of February 2022.

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February 3, 2022


                                         /s/ A LEX R. S ISTLA

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